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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Santiago Castaneda
                                    Plaintiff,
v.                                                    Case No.: 1:16−cv−03414
                                                      Honorable Sheila M. Finnegan
Lowe's Home Centers, LLC
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 3, 2017:


         MINUTE entry before the Honorable Sheila M. Finnegan: Pursuant to the parties'
joint stipulation to dismiss [46], all claims in this action are dismissed with prejudice,
without costs to any party. Telephone status set on 12/27/2017 is cancelled. Civil case
terminated. Mailed notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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